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                       THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division

LULA WILLIAMS, GLORIA TURNAGE,       :
GEORGE HENGLE, DOWIN COFFY, and      :
FELIX GILLISON, JR., on behalf of themselves
                                     :
and all individuals similarly situated,
                                     :
                                     :
                       Plaintiffs,   :                   CIVIL ACTION NO. 3:17-cv-461
            v.                       :
                                     :
BIG PICTURE LOANS, LLC, MATT         :
MARTORELLO, ASCENSION TECHNOLOGIES,:
INC., DANIEL GRAVEL, JAMES WILLIAMS, :
JR., GERTRUDE MCGESHICK, SUSAN       :
MCGESHICK, and GIIWEGIIZHIGOOKWAY    :
MARTIN,                              :
                                     :
                 Defendants.         :
                                     :

 MOTION OF DEFENDANT MATT MARTORELLO TO DISMISS THE COMPLAINT
                  PURSUANT TO FED. R. CIV. P. 12

       Defendant Matt Martorello moves the Court pursuant to Federal Rule of Civil Procedure

12 for an order dismissing Plaintiffs’ Complaint with prejudice. The reasons in support of the

motion are set forth in the accompanying memorandum of law which is incorporated herein by

reference.

       WHEREFORE, Matt Martorello respectfully requests that the Court dismiss the

Complaint, with prejudice.




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                                   MATT MARTORELLO


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 29th day of September, 2017, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF System which will then send a notification of such

filing (NEF) to the following:


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